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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 MARTIN J. WALSH, Secretary of Labor,
 United States Department of Labor,

                          Plaintiff,                   Civil Action No. 1:22-cv-10911

               v.                                      Injunctive relief sought

 GRANITE-SHOP.COM, INC. d/b/a THE                      June 10, 2022
 GRANITE SHOP, and ALINY BRETAS,

                          Defendants.


                                         COMPLAINT

       This case involves employers who directed employees to lie to an investigator for the

Plaintiff Secretary of Labor, United States Department of Labor (the “Secretary”), and also

unlawfully harassed and threatened a former employee after learning that the former employee

had cooperated in the Secretary’s investigation of the employers. The Secretary’s investigation

of these employers—Defendants Granite-Shop.com, Inc. d/b/a The Granite Shop, and Aliny

Bretas (collectively, “Defendants”)—revealed that Defendants failed to pay certain employees

the required overtime premium and failed to keep required records, in violation of the Fair Labor

Standards Act, 29 U.S.C. § 201 et seq. (the “Act” or “FLSA”).

       The Secretary seeks an order from this Court enjoining Defendants from violating the

provisions of Sections 7, 11, 15(a)(2), 15(a)(3), and 15(a)(5) of the Act, 29 U.S.C. §§ 207, 211,

215(a)(2), 215(a)(3), and 215(a)(5). The Secretary further seeks an order from this Court to

recover unpaid wages, liquidated damages, and punitive damages pursuant to the provisions of

Sections 15(a)(2), 15(a)(3), 16(b), and 16(c) of the Act, 29 U.S.C. §§ 215(a)(2), 215(a)(3),

216(b), and 216(c).
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                                  JURISDICTION AND VENUE

        1.       This Court has jurisdiction over this action pursuant to Section 17 of the FLSA,

29 U.S.C. § 217, and 28 U.S.C. §§ 1331 and 1345.

        2.       Venue is proper in the United States District Court for the District of

Massachusetts because a substantial part of the events giving rise to the claims occurred in this

judicial district.

                                   FACTUAL ALLEGATIONS

                                               Parties

                                            The Secretary

        3.       Plaintiff Martin J. Walsh, Secretary of Labor, United States Department of Labor,

is vested with the authority to file suit to restrain violations of the FLSA and recover back wages,

liquidated damages, and punitive damages, and is the proper plaintiff in this action.

                     Defendant Granite-Shop.com, Inc. d/b/a The Granite Shop

        4.       Defendant Granite-Shop.com, Inc. d/b/a The Granite Shop (“Granite Shop”) is a

dissolved Massachusetts corporation that had a principal office address of 11 Adam Road #4,

Stoneham, MA 02180. The Granite Shop operated as a business that fabricated and installed

marble and granite countertops for residential and commercial customers in Massachusetts,

Connecticut, New Hampshire, and Rhode Island.

        5.       The Granite Shop was involuntarily dissolved on December 31, 2021.

        6.       At all relevant times, the Granite Shop employed employees, including those who

worked as administrative staff, sales representatives, and fabricators.




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       7.       At all relevant times, the Granite Shop set its employees’ method and amount of

pay, created policies for employee compensation, and maintained limited employment-related

records.

       8.       At all relevant times, the Granite Shop set the hours worked by its employees,

supervised employees’ work, and had the power to hire and fire them.

                                       Defendant Aliny Bretas

       9.       Defendant Aliny Bretas has been, and at all relevant times was, the sole officer,

director, and owner of the Granite Shop.

       10.      Aliny Bretas’s actions have affected the compensation that the Granite Shop’s

employees received.

       11.      At all relevant times, Aliny Bretas acted directly and indirectly in the interest of

the Granite Shop in relation to its employees, and therefore is an employer of the Granite Shop’s

employees within the meaning of the FLSA, see 29 U.S.C. § 203(d).

       12.      Aliny Bretas resides in Melrose, MA, within the jurisdiction of this Court.

       13.      The claims against Aliny Bretas in this case arise out of and are directly related to

Bretas’s business activities in Massachusetts.

                      Defendants Are an Enterprise Covered by the FLSA

       14.      At all relevant times, Defendants were an enterprise within the meaning of

Section 3(s)(1)(A) of the FLSA, 29 U.S.C. § 203(s)(1)(A), as they engaged in related activities

performed through unified operation or common control for a common business purpose.

       15.      From June 2019 to at least in or around November 2019, Defendants employed

employees in said enterprise.




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        16.     At all relevant times, Defendants’ enterprise was engaged in commerce or in the

production of goods for commerce, which includes having employees handle, sell, or otherwise

work on goods or materials that have been moved in or produced for commerce. Defendants’

employees regularly traveled across state lines to perform work.

        17.     Said enterprise, from 2016 to 2018, had an annual gross volume of sales made or

business done in an amount not less than $500,000.00 (exclusive of excise taxes at the retail level

that are separately stated), and based on existing facts and evidence, that enterprise’s annual

gross volume of sales made or business done likely greatly exceeded $500,000.00 (exclusive of

excise taxes at the retail level that are separately stated) for 2019.

        18.     Defendants’ employees therefore were employed in this enterprise engaged in

commerce or in the production of goods for commerce, within the meaning of Section 3(s) of the

FLSA, 29 U.S.C. § 203(s).

                              Defendants’ Wage and Hour Practices

                      The Secretary’s First Investigation of the Granite Shop

        19.     In 2015, the Secretary initiated an investigation into the wage and hour practices

of the Granite Shop and its owner Aliny Bretas (the “First Investigation”).

        20.     The First Investigation covered the time period from December 15, 2012 to

December 6, 2014.

        21.     In the course of the First Investigation, the Secretary determined that Defendants

the Granite Shop and Aliny Bretas had violated the recordkeeping provision of the FLSA, 29

U.S.C. § 211.




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       22.     As part of that First Investigation, the Secretary discussed with Aliny Bretas

Sections 6, 7, 11, and 12 of the FLSA, 29 U.S.C. §§ 206, 207, 211, and 212, the minimum wage,

overtime pay, recordkeeping, and child labor provisions of the Act.

       23.     Also as part of the First Investigation, the Secretary advised Aliny Bretas to

comply in the future with the FLSA by: (1) paying all non-exempt employees at least the

minimum wage; (2) paying all non-exempt employees the overtime premium for hours worked

in excess of 40 hours in a workweek; (3) keeping and maintaining required records; and (4)

complying with all applicable child labor regulations.

                    The Secretary’s Second Investigation of the Granite Shop

       24.     In 2019, the Secretary began a second investigation into the wage and hour

practices of Defendants (the “Second Investigation”).

       25.     The Second Investigation covered a time period that included June 11, 2019

through at least November 18, 2019.

       26.     Despite their representations to the Secretary at the conclusion of the First

Investigation, the Granite Shop and Aliny Bretas had not come into compliance with the FLSA

for the period covered by the Second Investigation.

       27.     During the period covered by the Second Investigation, Defendants violated the

overtime compensation requirements of Section 7 of the FLSA, 29 U.S.C. § 207.

       28.     Defendants’ employees regularly worked over 40 hours per workweek during the

period covered by the Second Investigation.

       29.     When Defendants’ employees worked more than 40 hours in a workweek,

Defendants did not compensate those employees at one and one-half times their regular rates of

pay for hours worked over 40 hours in a workweek.



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       30.     Defendants paid certain employees flat amounts to compensate them for a

standard five-day workweek.

       31.     These employees regularly worked more than five days a week, such as on

Saturdays.

       32.     When these employees worked more than five days per week, Defendants paid

them their day-rate equivalent, which did not include an overtime premium, for the work on

those extra work days, such as Saturdays.

       33.     If these employees worked fewer than five days in a workweek, Defendants paid

them less than the flat amount they received for a standard workweek.

       34.     Defendants did not pay these employees based on the number of hours that they

worked, but rather on the number of days or shifts that they worked.

       35.     The day rate or shift rate that Defendants paid these employees did not vary based

on whether the employee worked more or less than 40 hours in a workweek.

       36.     Defendants expected certain other employees to regularly work six days per week,

totaling over 50 hours, but did not pay those employees an overtime premium.

       37.     During the period covered by the Second Investigation, Defendants violated the

recordkeeping requirements of Section 11 of the FLSA, 29 U.S.C. § 211.

       38.     During the period covered by the Second Investigation, Defendants failed to

accurately record all hours worked by employees.

       39.     Defendants also failed to accurately record all wages paid to employees during the

period covered by the Second Investigation.

       40.     On or about September 18, 2019, the Secretary held a conference with Defendants

to share the findings from the Second Investigation.



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       41.      Defendant Aliny Bretas stated at that meeting that Bretas had not implemented

any timekeeping system to record hours worked by employees.

                       Defendants’ Unlawful Retaliation Against Employees

       42.      When the Secretary’s investigator was visiting Defendants’ office as part of the

Second Investigation, Defendant Aliny Bretas told at least one then-current employee to tell the

investigator, if asked, that the employee did not work for the Granite Shop.

       43.      In or around July 2019, Defendant Aliny Bretas told a former employee to

provide to the Secretary’s investigator inaccurate telephone numbers for Defendants’ employees,

so that the Secretary’s investigator could not reach those employees.

       44.      Then, around the time of the September 18, 2019 conference between Defendants

and the Secretary, Defendant Aliny Bretas told the same former employee to provide to the

Secretary’s investigator additional false information, including information about how

Defendants’ employees were paid.

       45.      In late September 2019, Defendants’ former employee refused to provide to the

Secretary false information about how employees were paid.

       46.      In the wake of that refusal, Defendant Aliny Bretas told the former employee that

Bretas knew that the former employee was speaking to the Secretary’s investigator and accused

that former employee of trying to get money from Bretas.

       47.      In early December 2019, Defendant Aliny Bretas also threatened the former

employee in writing in a message sent from Bretas’s business email address.

       48.      In that message, Defendant Aliny Bretas stated, among other things:

             a. I’m going to end you.

             b. You can go raise your [child] in hell.



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             c. You are very stupid if you think you can beat me in this. I always win.

             d. Don’t even try to run because I can find you.

             e. I’m not leaving you alone until you go crazy.

             f. And you will lose your [child]. Write this down.

             g. I’m not leaving you alone, you whore.

       49.       Those threats caused the former employee to live in significant fear for themself

and their child, and to seek support related to that fear.

       50.       Defendant Aliny Bretas’s actions set forth above would dissuade a reasonable

employee from engaging in protected activity under the FLSA, such as the protected activity of

speaking with a representative of the Secretary.

                                           COUNT ONE

   Violations of the Overtime Provisions of the FLSA, 29 U.S.C. §§ 207(a) and 215(a)(2)

       51.       The Secretary incorporates by reference and re-alleges all foregoing allegations in

the Complaint.

       52.       Section 7 of the Act requires employers to pay non-exempt employees at least one

and one-half times the employee’s regular rate of pay for hours worked in excess of 40 in a

workweek. 29 U.S.C. § 207(a)(1).

       53.       Defendants willfully violated Section 7 of the FLSA, 29 U.S.C. § 207(a)(1), by

failing to pay certain of their employees or former employees the required overtime premium for

hours worked in excess of 40 hours in a workweek.

       54.       Thus, certain employees have not received all of the overtime compensation that

they are owed for the time period from June 11, 2019 to at least November 2, 2019.




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        55.      Under Sections 7, 15(a)(2), and 16(c) of the FLSA, 29 U.S.C. §§ 207, 215(a)(2),

and 216(c), Defendants are liable for the amount of unpaid overtime compensation and an equal

amount in liquidated damages for the time period from June 11, 2019 to at least November 2,

2019.

                                           COUNT TWO

 Violations of the Recordkeeping Provisions of the FLSA, 29 U.S.C. §§ 211(c) & 215(a)(5)

        56.      The Secretary incorporates by reference and re-alleges all foregoing allegations in

this Complaint.

        57.      Defendants failed to keep true and accurate records of the hours that each of their

non-exempt employees worked, in violation of Section 11 of the FLSA, 29 U.S.C. § 211, and the

regulations thereunder, specifically 29 C.F.R. Part 516.

        58.      Defendants failed to keep true and accurate records of the total wages paid to each

of their non-exempt employees in each pay period, in violation of Section 11 of the FLSA, 29

U.S.C. § 211, and the regulations thereunder, specifically 29 C.F.R. Part 516.

                                          COUNT THREE

        Violations of the Anti-Retaliation Provision of the FLSA, 29 U.S.C. § 215(a)(3)

        59.      The Secretary incorporates by reference and re-alleges all foregoing allegations in

the Complaint.

        60.      Section 15(a)(3) prohibits retaliation against employees and former employees

because they assert their rights under the FLSA. The provision prohibits, among other things,

“any person” from “discharg[ing] or in any other manner discriminat[ing] against any employee

because such employee has filed any complaint or instituted or caused to be instituted any

proceeding under or related to this chapter [8 of the FLSA], or has testified or is about to testify

in any such proceeding.” 29 U.S.C. § 215(a)(3).
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       61.     Defendants have violated Section 15(a)(3) by threatening and intimidating at least

one former employee because of that former employee’s cooperation or perceived cooperation

with the Secretary.

       62.     Defendants also have violated Section 15(a)(3) by instructing certain employees

or former employees to provide false information to the Secretary’s investigator.

       63.     As a result of Defendants’ retaliatory conduct, a reasonable employee may well

be dissuaded from engaging in activities protected under the Act, such as asserting their right to

receive proper compensation or cooperating with an investigation or litigation by the Secretary

concerning violations of the FLSA.

                                     PRAYER FOR RELIEF

       WHEREFORE, cause having been shown, the Secretary prays for judgment against

Defendants as follows:

       1.     For an order pursuant to Section 17 of the FLSA, 29 U.S.C. § 217, permanently

enjoining and restraining Defendants, their officers, agents, servants, employees, and those

persons in active concert or participation with them, from violating the FLSA, including Sections

7, 11, 15(a)(2), 15(a)(3), and 15(a)(5), 29 U.S.C. §§ 207, 211, 215(a)(2), 215(a)(3), and

215(a)(5);

       2.     For an order pursuant to Section 16(c) of the Act, 29 U.S.C. § 216(c), holding

Defendants liable for unpaid back wages found due to certain of Defendants’ current and former

employees listed in the attached Exhibit A for the time period from June 11, 2019 to at least

November 2, 2019, plus liquidated damages equal in amount to the unpaid wages found due.

Additional amounts of back wages and liquidated damages may also be owed to certain current

and former employees of Defendants listed in the attached Exhibit A for violations continuing



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after November 2, 2019, and may be owed to certain current and former employees presently

unknown to the Secretary for the period covered by this Complaint, who may be identified

during this litigation and added to Exhibit A;

       3.      In the event liquidated damages are not awarded, an order awarding prejudgment

interest computed at the underpayment rate established by the Secretary of the Treasury pursuant

to 26 U.S.C. § 6621;

       4.      For an order pursuant to Section 17 of the Act, 29 U.S.C. § 217, permanently

enjoining and restraining Defendants, their officers, agents, servants, employees, and those

persons in active concert or participation with them, from withholding the amount of unpaid

overtime compensation found due to Defendants’ employees;

       5.      For an order awarding punitive damages for Defendants’ retaliation against their

employees in violation of Section 15(a)(3) of the Act, 29 U.S.C. § 215(a)(3);

       6.      For an order awarding the Secretary the costs of this action; and

       7.      For an order granting such other and further relief as may be necessary and

appropriate.




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